           Case 1-18-41406-cec                   Doc 20         Filed 05/14/18            Entered 05/14/18 13:38:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------x
IN RE:
            C-e.       ct Sa ,r             f-J "" ~ y'
                                                           0
                                                                      -cz
                                                                       :::::i · ·
                                                                                                          CHAPTER 13
                                                                                                          CASE NO.:
                                                                                                                                              C
                                                                                                                            ci
                                                                                                                            .....
                                                                                                                                            cn<.fl
                                                                                                                                            y•
                                                                                                                            ~                 ~~
                                                                                                                     .,,      -:,:.._         ~;t:,
                                DEBTOR(S).                                                                           r1'\      ~            ~~~?:
--------------------------------------------------------X                                                             ~ -                   zo~~
                                                                                                                      :a ,; --a"0...~~
                                                      CHAPTER 13 PLAN                                                  ~vis8ftz/~~
                                                                                                    .-r -                                            oC
                                                                                                    ~--::                                            -1'~
      D     Check this box if this is an amended plan. List below the sections of the plan which have'oeenvJ
            changed:                                                                                      ...J


PART 1: NOTICES

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstance or that it is permissible in your judicial district. Plans
that do not comply with the local rules for the Eastern District of New York may not be confirmable. If you do not have an
attorney, you may wish to consult one.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should
read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.
If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankru·ptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
plan.

1.1: The following matters may be of particular importance. Debtors must check one box on each line to state
whether or not the plan _includes each of the following items. If an item is checked as "Not Included" or if
60th or neither boxes are checked, the provision will be ineffective if set out later in the plan.
                                                                                                                 /
 a.       A limit on the amount of a secured claim, set out in Section 3.4, which may result in             19"1ncluded      D      Not included
          a partial payment or no payment at all to the secured creditor                                                                /
 b.       Avoidance of a judicial lien or nonpossessory, non-purchase-money security interest,              D   Included     lla"Not included
          set out in Section 3.6                                                                                                        /"'
 c.       Nonstandard provisions, set out in Part 9                                                         D   Included     Ul"Not Included


1.2: The following matters are for informational purposes.

 a.       The debtor(s) is seeking to modify a mortgage secured by the debtor(s)'s principal                 D Included
          residence, set out in Section 3.3

 b.       Unsecured Creditors, set out in Part 5, will receive 100% distribution ·of their timely filed     D Included
          claim
        Case 1-18-41406-cec                    Doc 20       Filed 05/14/18              Entered 05/14/18 13:38:58




PART 2: PLAN PAYMENTS AND LENGTH OF PLAN

2.1: The post-petition earnings of the debtor(s) are submitted to the supervision and control of the Trustee
and the Debtor(s) shall pay to the Trustee for a period of ___ months as follows:

$___ per month commencing _ _ _ _ through and including _ _ _ _ for a period of _ _
months; and

$___ per month commencing _ _ _ _ through and including _ _ _ _ for a period of _ _
months.                                                                   ,    v//1-
    0      Continued on attached separate page(s).


2.2: Income tax refunds.

If general unsecured creditors are paid less than 100%, in addition to the regular monthly payments, during the
pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed federal and state tax
returns for each year commencing with the tax year _ __, no later than April 15th of the year following the
tax period. Indicated tax refunds are to be paid to the Trustee upon receipt, however, no later than June 15 th
of the year in which the tax returns are filed.


2.3: Additional payments.

Checkgpe-
    r!{ None. If "None" is checked, the rest of §2.3 need not be completed.
    D Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified below.
          Describe the source, estimated amount, and date of each anticipated payment.




PART 3: TREATMENT OF SECURED CLAIMS

3.1: Maintenance of payments (including the debtor(s)'s principal residence).

    Ch"/one.
    7~·0-~~- If "None" is checked, the rest of §3.1 need not be completed.
    D Debtor(s) will maintain the current contractual installment payments on the secured claims listed
        below, with any changes required by the applicable contract and noticed in conformity with any
        applicable rules. These payments will be disbursed directly by the debtor(s).

             ;                                                I·
                           Last 4 (?igits of       P.rfndpal !' ~,   .,
                                                                                                              Current installment
  -Name of Creditor          -,Account         '. Residence· lI "         D_escriptibn,of Collateral   ,•
                                                                                                            . Payment (including
                                                                                            ..
                              Number             (¢heck box) l                                                     escrow)
                 .,                                                                                                            "




                                                    D
                                                    0
--                     -
    i,inued on attached separate page(s).
                       Case 1-18-41406-cec          Doc 20      Filed 05/14/18        Entered 05/14/18 13:38:58




            3.2: Cure of default {including the debtor{s)'s principal residence).

                 Check one.
                 D ,)ktfie. If "None" is checked, the rest of §3.2 need not be completed.
                 I;(' Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with
                      interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts listed on
                      a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any
                      contrary amounts listed below. In the absence of a contrary timely filed proof of claim, the amounts
                      listed below are controlling.




                 D      Continued on attached separate page(s).


            3.3: Modification of a mortgage secured by the debtor{s)'s principal residence.
                Che,,r,Yone.                     .
                'd" The debtor(s) is not seeking to modify a mortgage secured by the debtor's principal residence.
                 D The debtor(s) is seeking to modify a mortgage secured by the debtor{s)'s principal residence.
                       Complete paragraph below.
                 D If applicable, the debtor(s) will be requesting loss mitigation pursuant to Generc!l Order #582.


     _ .    The mort~age du~ to      P~vwi,:J /1.c. '--           (creditor name) on the property known ~s
~   ,l   (/6:j V\  St cJ<L-~,      Rftlf1:mder account number ending /  8~'-/  (last four digits of account number) is in default.
              All arrears, includi~g ;II past due payments, late charges, escrow deficiency, legal fees and other expenses due
              to the mortgagee totaling$ '58] 1D)-3. may be capitalized pursuant to a loan modification. The new principal
              balance, including capitalized arr~ars will be$ /"/ 11- and will be paid ar--~nterest amortized over
               (J---
           /'\--t       years with an estimated monthly payment of$ Jll-l    /11-     including interest and escrow of
              $ r-vvt . The estimated monthly payment shall be paid directly to the trustee while loss mitigation is
              pending and until such time as the debtor(s) has commenced payment under a trial loan modification.
              Contemporaneous with the commencement of a trial loan modification, the debtor(s) will amend the Chapter
              13 Plan and Schedule J to reflect the terms of the trial agreement, including the direct payment to the secured
              creditor going forward by the debtor(s).
                    Case 1-18-41406-cec                                    Doc 20          Filed 05/14/18                Entered 05/14/18 13:38:58




    3.4: Request for valuation of security, payment of fully secured claims, and modification of
         under-secured claims.

            Check one.
           0        None. If "None" is checked, the rest of §3.4 need not be completed.

                   The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
                   ~ked.      .                                                                                                                              .

           l!f"The debtor(s) shall file a motion to determine the value of the secured claims listed below. Such claim
               shall be paid pursuant to order of the court upon determination of such motion.·




           ~tinued on attached separate page(s).


    3.5: Secured claims on personal property excluded from 11 U.S.C. §506.

           Chey-one.
           E1" None.            If "None" is checked, the rest of §3.5 need not be completed.
          0         The claims listed below were either:
                         o Incurred within 910 days before the petition date and secured by a purchase money security
                             interest in a motor vehicle acquired for the personal use of the debtor(s); or
                         o incurred within 1 year of the petition date and secured by a purchase money security interest
                             in any other thing of value.
                    These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
                    sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of claim
                    filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed
                    below. In the absence of a contrary timely filed proof of claim, the amounts stated below are
                    controlling.
                                                                                                                                              ,.   '   .     -

     Name ofCreditdr.                                                                                                     Ame.urit ofClaim   i· ·interest Rate
!    ---- . ·-·-· ___.._ --------·-·




      --···· ---~·-·"·-··" ..   ·---.   -·--. ···--·-   ..... , ... "· .       . --·····   ............, _____   ... .

           D           Continued on attached separate page(s).
                   Case 1-18-41406-cec                          Doc 20                          Filed 05/14/18                                       Entered 05/14/18 13:38:58




        3.6: Lien avoidance.

              Ches;K'one.
              a"'None.        If "None" is checked, the rest of §3.6 need not be completed.
                   The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
                   checked.

              D The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-purchase
                   money security interests as the claims listed below impair exemptions to which the debtor(s) are
                   entitled under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and Bankruptcy Rule
                   4003(d). Such claim shall be paid pursuant to order of the court upon determination of such motion.

                                    -·-···· : . :1.               ·      :i'   .       .   t .        >-.·./'" .· . ·,· :                           1      Esti~ted'   ·tlnter~stRate~i Estimat,ed
                                   Attorneyfor          i ..    'Lie,rr <O                  :     Des'criptiond '                                   i Amo~rit_of        i.   onSei:ured      '   Amountof.
                                   , . Cre·ditor .      j   Identification                         · Cqllateral.                                    t . Secu_red       . , ·.Portion, if. . •. ~iisesured . ,
I-'-'----~'---·.    -· ·   /.~ ·    •. ··. ·   •   · --~-----·-          .....     ~        j _ _ ,·'···-·.                                         )·"'     Claim       ' · · ;any·           ':_;,Claim.



-·······-······-·--··---------· _;________              I

                                                        i
                                                                  . ..      . - ~ - . ············-····-·-·-···-----                                /-----           Jl _____-1
                                                                                                                                                                                                                   I
                                ----·-··-·----·-----·-···--"····---                                                                                                                                                I

              D      Continued on attached separate page(s).


        3.7: Surrender of collateral.

              Che,Jl<bne.
              if None.If "None" is checked, the rest of §3. 7 need not be completed.
              D The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor's
                   claim. The debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. §362(a) be
                   terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be terminated. Any timely
                   filed allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5
                   below.

                                                                                                                                                              ---            -------··. ·······-····--·---·------···--
                   Nari:)e   of Cred,ii:or
                                                       ----r-- -- .--- ----·- ------·~ I
                                                                  ! last 4 Digits of
                                                                  ).           Acct No~
                                                                                                           ·
                                                                                                                                                           Description.·of .Collateral.




          ------··--···--··-·-····-------····          - ------ I                                       ········I · · " · · - - - - · · - - · ··-                                                                        !




 -            ~-~                                  -                  ,,,,,,,              ,.   ,,,




              i:::('Continued on attached separate page(s).
                 Case 1-18-41406-cec                                                 Doc 20                      Filed 05/14/18                          Entered 05/14/18 13:38:58




      PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS


      4.1: General.

      Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated
      in §4.5, will be paid in full without post-petition interest.


      4.2: Trustee's fees.

      Trustee's fees are governed by statute and may change during the course of the case.



      4.3: Attorney's fees.

      The balance of the fees owed to the attorney for the debtor(s) is$



      4.4: Priority claims other than attorney's fees and those treated in §4.5.

      CheckO~
          er'"None. If "None" is checked, the rest of §4.4 need not be completed.
          D The debtor(s) intend to pay the following priority claims through the plan:



                                                           ~-- ------- ... ---·- .. --· ·-·-----·-·----- •-'···--·· -- '
                                                                                                                      '
                                                                                                                      !
         ~-----·----······-   ..   ····--------------                                                                 '
                                                        ··················--···-------------··········-------··"····-··-·-···-···-·---~------·····-··-   ·---------------


          ~ntinued on attached separate page(s).


      4.5: Domestic support obligations.

      CheckO~ .
         .ia-"None. If "None" is checked, the rest of §4.5 need not be completed.
          D The debtor(s) has a domestic support obligation and is current with this obligation. Complete table
              below; do not fill in arrears amount.
          D · The debtor(s) has a domestic support obligation that is not current and will be paying arrears through
              the Plan. Complete table below.
                                      .· Date of                             ... . .    Am6untof Arrears to be
                                                   -Name of Co.urt                    / Paid througl'l' Pia~, If Any
                                         Qrder


i--

l__
           Case 1-18-41406-cec                                      Doc 20       Filed 05/14/18           Entered 05/14/18 13:38:58




PART 5: TREATMENT OF NONPRIORITV UNSECURED CLAIMS

Allowed ~ i " i t y unsecured claims will be paid pro rata:

    w'Not less than the sum of$       (!) · ct)_                                c)
    D Not less than _ _ _% of the total amount of these claims.
    D From the funds remaining after disbursement have been made to all other creditors provided for in
        this plan.
If more than one option is checked, the option providing the largest payment will be effective.


PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1: The executory contracts and unexpired leases listed below are assumed and will be treated as
specified. All other executory contracts and unexpired leases are rejected.

Check~
      1:1" None. If "None" is checked, the rest of §6.1 ne.ed not be completed.
      D Assumed items. Current installment payments will be paid directly by the debtor(s) as specified
        below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the
        trustee.

  Name pf Cre.ditor
                                                        __ ,, __ De~criptiqn .of Le_ased Property or ... · 1: CUrr~nt Installment ; 'Artiount Arrearage   of
                                                          ./_ _ _: __ J~E!~U_t~ry Contrac!__ _ _ J_Pav['.1ent by Debt~r. j to oe Paid byTruste,f


 - - - ·······-········-····----------······-·-···-·-     ,-------·--------·----·---        ---         ·--··------------·-·-··   ....•....   ______ __
                                                                                                                                                   :_




PART 7: VESTING OF PROPERTY OF THE ESTATE

Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
debtor(s) upon completion of the plan.




PART 8: POST-PETITION OBLIGATIONS

8.1: Post-petition mortgage payments, vehicle payments, real estate taxes, and domestic support
obligations are to be made directly by the debtor(s) unless otherwise provided for in the plan.


8.2: Throughout the term of this Plan, the debtor(s) will not incur post-petition debt over $2,500.00
without written consent of the Trustee or by order of the Court.
         Case 1-18-41406-cec           Doc 20       Filed 05/14/18       Entered 05/14/18 13:38:58




PART 9: NONSTANDARD PLAN PROVISIONS

9.1: Check "None" or list nonstandard plan provisions.
    ~ - If "None" is checked, the rest 'of §9.1 need not be completed.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the form plan or deviating from it. Nonstandard provisions set out
elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box "included" in §1.l{c).




PART 10: CERTIFICATION AND SIGNATURE{S):

10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than




Signature of Debtor 1                                     Signature of Debtor 2

Dated:       I
         f, IO (I~                                        Dated: _ _ _ _ _ _ _ __




Signature of Attorney for Debtor(s)

Dated: _ _ _ _ _ __
